                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                               Plaintiff,         )
                                                  )
         v.                                       )
                                                  )   CASE NO. 07-00252-12-CR-W-NKL
LILLIAN NZONGI,                                   )
                                                  )
                               Defendant.         )


                              REPORT AND RECOMMENDATION
                               CONCERNING PLEA OF GUILTY

         The Defendant has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72(j)(26),

and 28 U.S.C. § 636, and has entered a plea of guilty to Counts 1 and 18 of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects mentioned in

Fed.R.Crim.P. 11, I determined that the guilty pleas are knowledgeable and voluntary as to Counts

1 and 18 of the Indictment and that the offenses charged are supported by an independent basis in

fact containing each of the essential element of such offense. A record was made of the

proceedings and a transcript is available. I therefore recommend that the pleas of guilty be

accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within ten (10) days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                       s/ JOHN MAUGHMER
                                                      JOHN MAUGHMER
                                                      United States Magistrate Judge
Dated:        July 23, 2008




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